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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

PERFIT VISION, EYEWEAR EXPRESS      §
INC. DBA PERFIT VISION & JOHN LUONG §
      Plaintiffs,                   §
                                    §
                                    §
v.                                  §                                   Civil Action No. 4:15-cv-00408
                                    §
MOUNT VERNON FIRE INSURANCE         §
COMPANY                             §
      Defendant.                    §


                                          NOTICE OF REMOVAL

         Defendant Mount Vernon Fire Insurance Company (“Mount Vernon”) hereby gives notice

of removal of the above-entitled action from the 400th Judicial District Court of Fort Bend County,

Texas, to the United States District Court for the Southern District of Texas, Houston Division

pursuant to 28 U.S.C. § 1446. In support thereof, Mount Vernon respectfully shows as follows:

                                                    I.
                                               INTRODUCTION

         1.       On or about January 28, 2015, Plaintiffs Perfit Vision,1 Eyewear Express Inc. dba

Perfit Vision, and John Luong (“Plaintiffs”) filed civil action Cause No. 15-DCV-220724; Perfit

Vision, Eyewear Express Inc. dba Perfit Vision & John Luong v. Mount Vernon Fire Insurance

Company in the 400th Judicial District Court of Fort Bend County, Texas. A copy of the state

court’s file is attached as Exhibit A. Plaintiffs allege that they operate an eyewear store named

Perfit Vision in Sugar Land, Texas. Plaintiffs further allege that on or about March 8-10, 2014, a

burglary occurred at Perfit Vision. Plaintiffs allege that Mount Vernon had issued a commercial


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  In their petition, Plaintiffs also allege, “Perfit Vision is the common name of the business insured in this lawsuit
and this suit is brought under the business’ common name under TRCP 28.” Pls’ Orig. Pet. [Ex. A] at 1 (emphasis
in original).
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insurance policy to Chris Tran and John Luong dba Perfit Vision. Plaintiffs contend that Mount

Vernon breached this insurance contract by refusing to pay for their damages and costs associated

with the burglary. Removal based on diversity jurisdiction is proper because there is complete

diversity of citizenship between the parties, and the amount in controversy exceeds $75,000.

                                           II.
                                     REMOVAL IS TIMELY

       2.      The Fort Bend District Clerk’s file does not contain a citation issued to Mount

Vernon or a return of service of citation on Mount Vernon. See Ex. A. On or about January 29,

2015, general counsel for Mount Vernon received a copy of Plaintiffs’ Original Petition from

Plaintiffs’ counsel. The petition was filed on January 28, 2015. Mount Vernon is therefore filing

this notice of removal within the 30-day time period as required by 28 U.S.C. §1446(b). See Bd. of

Regents of Univ. of Tex. Sys. v. Nippon Tel. & Tel. Corp., 478 F.3d 274, 278 (5th Cir. 2007).

                                      III.
                   BASIS FOR REMOVAL – DIVERSITY JURISDICTION

       3.      Removal is proper because there is complete diversity of citizenship between the

parties, and the amount in controversy exceeds $75,000, exclusive of interest and costs. 28

U.S.C. §1332(a).

       A.      Diversity

       4.      This is a case between citizens of different states, and complete diversity among

the parties exists and existed as of the time of filing of this lawsuit and as of the time of filing of

this notice of removal. No defendant in this lawsuit is a citizen of the same state as Plaintiffs.

       5.      In their original petition, Plaintiffs allege that Eyewear Express Inc. dba Perfit

Vision is a Texas corporation with its principal place of business in Fort Bend County, Texas.

Pls’ Orig. Pet. [Ex. A] at 1.




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       6.       In their original petition, Plaintiffs allege that John Luong is a resident of Texas

residing in Fort Bend County, Texas. Id.

       7.       Mount Vernon is a foreign insurance company, with its principal place of

business in Wayne, Pennsylvania.

       8.       Removal is therefore proper under 28 U.S.C. § 1332(a)(1).

       B.       Amount in Controversy

       9.       In their petition, Plaintiffs specifically allege, “Monetary relief over $200,000 but

not more than $1,000,000 is being sought.” Pls’ Orig. Pet. [Ex. A] at 2. Plaintiffs have asserted

causes of action for breach of contract, violations of the Texas Prompt Payment of Claims Act

(TPPCA), and breach of the duty of good faith and fair dealing and seek economic damages,

exemplary damages, penalties, interest, and attorney’s fees. Id. at 6-8. Accordingly, the amount

in controversy exceeds $75,000, excluding interest and costs. See 28 U.S.C. § 1332. Removal

is therefore proper. Id.

                                                IV.
                                              NOTICE

       10.      Pursuant to 28 U.S.C. § 1446(d), prompt written notice of the filing of this Notice

of Removal is being given to all parties, and a true and correct copy of this Notice of Removal is

being filed with the Fort Bend County District Clerk.

                                       V.
             COMPLIANCE WITH 28 U.S.C. § 1446(a) AND LOCAL RULE LR81

       11.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule LR81 for the United States

District Court for the Southern District of Texas, the following items are attached to this Notice

of Removal: the state court file documents are attached as Exhibit A, and the information

required under Local Rule LR81 is attached as Exhibit B.




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                                                VI.
                                               VENUE

       12.     Venue is proper in this district pursuant to 28 U.S.C. § 1441(a) because the state

court in which this action has been pending is located in this district.

                                              VII.
                                         JURY DEMAND

       13.     Plaintiffs did not demand a jury in their original petition and did not file a

separate jury demand.

                                         VIII.
                                 CONCLUSION AND PRAYER

       14.     All of the prerequisites for removal are satisfied, and removal is proper pursuant

to 28 U.S.C. §§ 1332(a) and 1446.           Defendant Mount Vernon Fire Insurance Company

respectfully requests that this Court remove this lawsuit to the United States District Court for

the Southern District of Texas, Houston Division and for any other and further relief to which

Defendant may be justly entitled.




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                              Respectfully submitted,

                              BINGHAM, MANN & HOUSE



                              BY: /s/ Lisa G. Mann
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                              ATTORNEYS FOR DEFENDANT
                              MOUNT VERNON FIRE
                              INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE

I hereby certify service of the foregoing instrument on February 12, 2015, as follows:

       By Certified Mail, Return Receipt Requested:
       Carlos Peniche
       LAM, LYN & PHILIP, P.C.
       3555 Timmons Lane, Suite 790
       Houston, Texas 77027
       Attorneys for Plaintiffs



                                             /s/ Lisa G. Mann
                                             LISA G. MANN




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